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                                         EXHIBIT 1



                    STIPULATION REGARDING COMFORT / LIFT STAY MOTION
                                 AND DISCOVERY MOTIONS




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                         )   Chapter 11
                                                               )
CENTER CITY HEALTHCARE, LLC d/b/a                              )   Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et                              )
al.,1                                                          )   Jointly Administered
                                                               )
                                    Debtors.                   )   Related to Docket Nos. 3002, 3051, 3053, 3055,
                                                                   3057 and 3061
                                                               )
                                                               )

                               STIPULATION REGARDING
                  COMFORT / LIFT STAY MOTION AND DISCOVERY MOTIONS

           NOW COMES the Debtors, the MBNF Movants,2 the Official Committee of Unsecured

  Creditors (the “Creditors’ Committee”), HSRE,3 and Tenet,4 (collectively, the “Discovery

  Mediation Parties”), by and through their undersigned counsel, and hereby stipulate, subject to

  approval of the Court, as follows:

           1.        The Motion of the Broad Street Entities and PAHH for Entry of an Order

  (I) Determining That the Automatic Stay Does Not Apply to Their Assets or (II) in the Alternative,

  Granting Limited Relief from the Automatic Stay for Them to Sell, Transfer, or Otherwise


  1
           The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
           are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
           Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
           L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
           L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
           L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
           IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540).
  2
           For purposes of this stipulation, the “MBNF Movants” means Philadelphia Academic Health Holdings,
           LLC, Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties II, LLC, and Broad Street
           Healthcare Properties III, LLC.
  3
           For purposes of this Stipulation, “HSRE” means HSREP VI Holding, LLC; HSRE-PAHH I, LLC; PAHH
           New College MOB, LLC; PAHH Bellet MOB, LLC; PAHH Wood Street Garage, LLC; PAHH Erie Street
           Garage, LLC; PAHH Feinstein MOB, LLC; and PAHH Broad Street MOB, LLC.
  4
           For purposes of this Stipulation, “Tenet” means Tenet Business Services Corporation and Conifer Revenue
           Cycle Solutions, LLC.



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Encumber Such Assets [D.I. 3002] (the “Comfort / Lift Stay Motion”) shall be heard by the Court

on December 1, 2021 at 10:30 a.m. ET (the “Financing Hearing”).

         2.        The deadline for the Debtors, the Creditors’ Committee, HSRE, and Tenet to file

objections to the Comfort / Lift Stay Motion shall be November 24, 2021 at 4:00 p.m. ET.

         3.        The deadline for the MBNF Movants to file a reply in support of the Comfort / Lift

Stay Motion shall be November 29, 2021 at 4:00 p.m. ET.

         4.        Prior to the Discovery Hearing (as defined below), the Discovery Mediation Parties

shall (i) use good faith efforts to mediate the discovery disputes with the Honorable Kevin J. Carey

(ret.) (the “Mediator”), to the extent he is available and (ii) the MBNF Movants shall produce

additional documents pursuant to the direction of the Mediator or as otherwise agreed by the

Discovery Mediation Parties. If the Discovery Mediation Parties are unable to resolve outstanding

discovery issues, all rights are preserved for the November 19, 2021 hearing (the “Discovery

Hearing”). The determinations, findings, decisions, and guidance provided by the Mediator shall

remain subject to mediation privilege and shall not be dispositive for purposes of the Discovery

Hearing.

         5.        Gordon Brothers Realty Services, LLC or any of its affiliates (collectively,

“Gordon Brothers”) shall not be required to produce any documents or witnesses in connection

with the Comfort / Lift Stay Motion. The Debtors, the Creditors’ Committee, HSRE, and Tenet

hereby withdraw, with prejudice, all outstanding document requests and subpoena issued to

Gordon Brothers in connection with the Comfort / Lift Stay Motion, including, without limitation,

the Subpoena to Testify at a Deposition and Rider to Subpoena to Produce Documents [Docket

No. 3037]. Neither Gordon Brothers nor its representatives or agents shall testify or otherwise

serve as a witness in connection the Comfort / Lift Stay Motion.



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          6.       The Debtors, the Creditors’ Committee, HSRE, and Tenet agree that no further

discovery directed to Gordon Brothers may be propounded in connection with the Comfort / Lift

Stay Motion, including, without limitation, no witness may be called nor any depositions may be

noticed or requested from Gordon Brothers or any of its representatives or agents.

          7.       The MBNF Movants agree to make available for deposition, all such person(s) who

will serve as the MBNF Parties’ witness(es) at the Financing Hearing. In addition to such agreed

upon deposition(s), the Discovery Mediation Parties further agree to work in good faith regarding

the scheduling of the foregoing deposition(s) and additional depositions of other individuals or

parties (other than Gordon Brothers or any of its representatives or agents), with all rights of the

Discovery Mediation Parties reserved for the Discovery Hearing, if such hearing is necessary.

          8.       The MBNF Movants shall not further encumber, sell, transfer, or convey the MBNF

Assets (as defined in the Comfort / Lift Stay Motion) prior to 11:59 p.m. ET on December 3, 2021.

          9.       The MBNF Non-Debtor Parties,5 the Debtors, the Creditors’ Committee, and

HSRE, as parties to the ongoing mediation conducted by the Mediator in these Chapter 11 cases,

will continue to engage in such process in accordance with their existing agreements and the Court

orders.



                [Remainder of this page intentionally left blank; signature pages follow]




5
          “MBNF Non-Debtor Parties” means Joel Freedman, Stella Freedman, Svetlana Attestatova, Kyle Schmidt,
          MBNF Investments, LLC, American Academic Health System, LLC, Philadelphia Academic Health
          Holdings, LLC, Front Street Healthcare Properties, LLC, Front Street Healthcare Properties II, LLC, Broad
          Street Healthcare Properties, LLC, Broad Street Healthcare Properties II, LLC, Broad Street Healthcare
          Properties III, LLC, Philadelphia Academic Risk Retention Group, LLC, Paladin Healthcare Capital, LLC,
          Paladin Healthcare Management, LLC, and Globe Health Foundation, Inc.


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Dated: November 16, 2021


 SAUL EWING ARNSTEIN & LEHR LLP                  SILLS CUMMIS & GROSS P.C.

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 including the MBNF Movants




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